                                 Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 1 of 34


 Js 44 (Rev. 06117)
 The lS 44 civil cover sheet nnd      .
                                       JLS       · ntained herein
                                                                                        I

                                                                               c~IL COVER &~r l_.....
                                                                               .n~ither
                                                                                                                       .    I /1 .
                                                                                                                                                              5; l l5'-QJ-l11. c,,'1
                                                                        re lace nor sup ler,nean and service ofp!eadings or other papers as re uircd by law, except as
 provided bY. l~~al. rules of.c9urt. us nn, approved by the Jud1c1al C<!nif'rcncc oflhe ~llllcd States m ~eptember 1974, 1s required for the use of the ~lerk of Court for the
 purpose of m1tiatmg the CIVIi docke,t sheet. (SEE INSTRUCTIONS Otf NE:(!' PAGE OF 7"HIS FORM)
 I. (a) PLAINTIFFS                                                                                                 DEFENDANTS                                     tfJ
    DR. ROBERT W. MAUTHE, M.C., P.C.,                                                                             MEHDI MEDICAL LLC, LDR Fft>LOING CORPORATION, and
                                                                                                                  ZIMMERBIOMET HOLDINGS, INC.
       (b) County ofRcsidence.of.Firsl Listed Plainti~                                                             County of Residence of First Listed Defendant                   -·
                                  (liXCfi'l'1" IN U.S. Pl.A/fji/'IFF CASES)                                                   .            (IN U.S. l'LAIN'l1FF CAsliS ON/;Y)
                                                                                                                   NOTE:      IN !,AND CONDEMNATION CASES, USE r1m'LoCATION OF
                                                                                                                              THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Vin11 Name, Addn:s.•. "'"' 7"e/ephone                                                            Attorneys (lf/(111Jw11)
 Shenkan Injury Lawyers, LLC
 P.O. Box 7255, New Castle, PA 16107
 6550 Lakeshore St. West Bloomfield, Mt 48323 (412) 716t5800

                                                   (Place a11 "X" i11 One Bo.r Oi1ly)               lll. CITIZENSHIP OF PRlNCIPAL PARTIES (l'lac11 m1 "X" 11101111 Box/or l'lai111iff
                                                                                                            (/:;,, l)IV~1'.<1ty Cases 011ly)                                           011d One Box for IJ.J/e11da11i)
CJ. I     U.S. Governmenl                                                                                                                      l'TF     DEF                                              PTF        DEF
             Plaintiff                            (U.S. Govemment Niii a Party)                        Plizen of This State                    0   I     CJ   I   Incorporated 11r Principal Place        CJ 4      Cl 4
                                                                                                                                                                    of Business In This State

b 2 U.S. Government                      CJ 4 Di \'ersity                                              Citizen of A11othcr State               CJ 2     0     2 lncorporaled and Principal Pl ace         CJS       CIS
            Defendant                           (lndict1/e Cilize11ship ofl'arties In (tem flf)                                                                    of Business In Another State

                                                                                                       Citizen or Subject of a                 CJ 3     CJ    3   Foreign Nalion                          CJ6       06
                                                                                                         Forei1U1 Coun

                                                                                                                  .E               •'il•aa,•

CJ    110 Insurance                            PERSONAL INJURY             PER.SONAfL INJURY           LI 62.S Drug Related Seizure                LI 422 Appeal 28 USC 158          Cl' 315 Fn!Se G:laims Act
CJ    120 Marine                        CJ 3 JO Airplane                CJ 365 Person I Injury "               of Property 21 USC 8&1              CJ 423 Withdrawal                 0 376 Qui Tam (31 USC
0     130 Miller Act                    0 315 Airplane Product                  Produ Libhility        CJ 690 Other                                       28 USC 157                         3729(a))
CJ    I40 Negoliablo lnstnnncnt                   Liability             0 367 f,leallh ICart¥                                                                                        0 400 Stale Reapportionment
c:J   150 Recovery of Overpayment      0 320 Assauh, Libel &                   Jlharmdceutical                                                              • •                      0 410 Antitrust
           & Enforcement of Judgment              Slande1'                     Person/ii lnjul)'                                                   CJ. 82!) Copyrights               0 430 Banks and Banking
CJ    IS l Medicare Acl                Cl 330 Federal Employers'               .Produc~Liabitity                                                   Cl 83.0 Patent                    Cl 450 Commerce
0     152 Recovery of Dcfanhed                    Liability             0 368 Asbesl s Personal                                                    CJ 835 Patent· ,Abbrevi11ted      CJ 460 Depot:taiion
           Student Loans               0 340 Marine                              .Injury Product                                                            New Drug Applicaiion     0 470 Racketeer Influenced and
           (Excludes Veterans)         Cl 345 Marine Product                     Liability                                                         CJ 840 Trademark                         Corrupt Organizations
0     153 R•>covery of Ovc1paymcnt                Liability                PERSONA4 PROPERTY                                                                         ..              CJ 480 Constuner Credit
           of V eterm1 "s Benefits     CJ 350 Motor Vehicle             0 370 Qther ~raud         .                                                CJ 861 HIA (t395ffi               CJ < Cable/Sal TV
0     160 Stockholders' Suits          CJ 355 Motor Vehicle             Cl 371 i:ruth ip Lending              Act                                  0 862 Black Lung {923)               850 curilies/Commodi1ies/
0     190 OU1er Contrncl                         Product Liability      CJ 380 c;>ther ~ersonal     0 720 LaborfMmiagemenl                         0 863 DIWC/DlWW (40S(g)                    ·xchange ,
CJ    195 Contract Product Liability   CJ 360 Other Personal                    ~ropcrt~ Damage               Rclalions                            CJ 864 SSID Title XVI                     Other Stntutory Actions
CJ    196 Franchise                              Injury                 CJ 385 Properly Diuilage    CJ 740 Railway Labor Act                       CJ 865 RSI (40S(g))                           ·        Acts
                                                                                        1
                                       Cl 362 Personal Injury •                 J>rodui Liability   c:J 75 I Family .1111d Medical                                                   CJ 893 Environmental Matters
                                                 Medical Mal raciice                                          I.eave Act                                                             CJ 895 Freedom of Information
      ; REM~.l!UOP.EfffY'.               . ··. •Cf\'ILRIGHTS''         :·:!!RISO R PETITlO s; " CJ 790 Other Labor Litigation            t;\;;,F.EDERil:L"-TAX"S l'l'Sc~                     Act
CJ 210 Land Condemnation               0 440 Other Civil Rights             Habt!as Corpus:         CJ 79 I Employee Re1iremen1           CJ 870 Taxes (U.S.'PlaintitT               0 896 Arbitration
CJ 220 Foreclosure                     Cl 44 I Voting                   0 463 Ai'ien ftainec                 Income Securily Act                   or Defeiulanl)                    0 899 Administrative Procedure
CJ 230 Rent Lease & Ejcctmcnt          (j 442 Employmenl               (j 510 Motions lo Vacate                                           0 871 lRS-Third Party                             Act/Review or Appeal of
0 240 Tons to Land                     0 443 Housing/                           Seoten~e                                                           26 USC 7609                              Agency Decision
0 245 Tort l'roducl Liability                    Accominodations       CJ 530 General                                                                                                0 9SO Constiiutionnlity of
0 290 All Other Real Propet1)'         0 445 Amer. w/Disubilities •    CJ 535 Qeath Penalty              '~: dMl'VllGID\\l:ION!"': ":.c{                                                    Stale Statutes
                                                 Employment                 Othel-:     I           0 462 Naturali1.ation Application
                                       CJ 446 Am~r. w/Disabilities •   CJ 540 Mand:f.11is & Otlicr CJ 465 OU1cr Immigration
                                                 01hcr                 CJ 550 Civil Rights                   Actions
                                       0 448 Education                 CJ 555 Prison Condition
                                                                       CJ 560 ¢ivil tjetaiuec •
                                                                               Conditions of
                                                                               Confinement


                                                            CJ 3       Rem?J1dcd fr~m             O 4 Reinstated or        CJ 5 Transferred from                  CJ 6 Multidistricl            CJ 8 Multidistrict
                                                                       Appellate Com1                  Reopened                 Anolhc.r District                     . Litigation -                 Litigation -
                                                                                                                                   (.<peciJY)                           Trans for                   Direct File
                                           Cite the U.S. Civil Statute under which you arc filing (Do not clte]11r/.r1/lctlo11al sta111tes unless d/l•ersity):
VI. CAUS,E OF ACTION                      l~ie~d·~~~~t~:~icause:                .       I                     .
                                           Violation of the Telephone Consumer Protection Act
VII. REQUESTED IN     GI CHECK IF THIS ISA CLASSIACl"ION                                                 DEMANDS                                              CHECK YES only if demanded in compluint:
     COMPLAINT:            UNDER RULE 23, F.R.Cv.P.                                                                                                           .JllRY DEMAND:       CJ Yes     ONo
VIII. RELATED CASE(S)
      IF ANY            (.\',,cill.<tn1ctionsj:
                                                                                                                                                       DOCKET NUMBER
DAl"E
05/10/2018
FOR OFFICE USE-ONL \'

     RECEIPT#                    AMOUNT                                       APPL '11NG JFP                                  JUDGE                                     MAO.JUDGE
                                             ------·----
                              Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 2 of 34


 JS 44 Reverse (Rev. 06/17)


                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                  Authority For Civil Cover Sheet -

The JS 44 civil cover sheet and the .information contained heJn neither replaces nor supplements the filings and service of pleading or other papers as
required by law. except as provided by local rules of court. T~is fonn, approved by the JUdicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a c.ivil cover sheet is s1ib111itted to the Clerk of
Court for each civil complaint filed. The attorney filing a casd should complete the form as follows:

I.(a)      Plaintiffs-Defendants. Enter names (last, first, middlj initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
           only the full name or standard abbreviations. If the pl intiff or defendant is an official within a government agency, identify first the agency and
           then the official, giving both name and title.
     (b)   County of Residence. For each civil case filed, except U$. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
           time of filing. In U.S. plaintiff cases, enter ihe name o[ the county in which the first listed defendant resides at the time of filing. (NOTE: In land
           condemnation cases, the county of residence of the "d~fendant" is the location of the tract of land involved.)
     (c)
           in this section "(see attachment)".                     j
           Attorneys. Enter the finn name, address, telephone mlmbcr, and attorney of record. If there are several attorneys, list them on an attachment, noting


II.        Jurisdiction. J'hc basis of jurisdiction is set forth und r Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
           in one of the boxes. If there is more than one basis ofjlurisdiction, precedence is given ii] the orde.r s~own below.
           United States plaintiff. (I) Jurisdiction based on 28 u.p.c. 1345 and 1348. Suits by agencies and officers ofthc United States are included here.
           United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
           Federal question. (3) This refers lo suits under 28 U.S.F. l 331, where jurisdiction arises under the Constitution of the United States, an amendment
           to the Constitution, an act of Congress or a treaty of th~ United States. In cases where the U.S. is a party, the U.s. plaintiff or defendant code takes
           precedence, and box I or 2 should be marked..             I
           Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties arc citizens of different states. When Box 4 is checked, the

                                                                    l                                                                          ,
           citizenship of the different parties must be checked•. (Sbe Section Ill below; NOTE: federal question actions take precedence over diversity
           cases.)

Ill.       Residence (citizenship) of. Principal Parties. This seltion of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
           section for each principal party.                                                                                                       ,

IV.        Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
           that is most applicable. Click here for: Naturc,of Suit ctodc Descriptions.

V.         Origin. Place im "X" in one of the seven boxes.
           Original Proceedings. (I) Cases which originate in the'IUnited States district courts.
           Removed from State Court. (2) Proceedings initiated ill state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
           When the petition for removal is granted, check this bo .
           Remanded from Appellate Court. (3) Check this box fi, r cases remanded to the district court for further action. Use the date of remand as the filing
           date.
           Reinstated or Reopened. (4) Check this box for cases r instated or reopened in the district court. Use the reopening date as the filing date.
           Transferred from Another District. (5) For cases tt;ansftrred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
           multidistrict litigation transfers.                                                                        .
           Multidistrict Citigation -Transfer. (6) Check this bo. x ~hen a multidistrict case is transferred into the district under authorit.y ofTitle 28 U.S.C.
           Section 1407.                                                     ·                    ·                                  .
           Multidistrict Litigation - Direct File. (8) Check this bo when a multidistrict case is filed in the same district as the Master MDL docket.
           PLEASE NOTE THAT THERE IS NOT AN ORIG~N CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
           changes in statue.

VI.        Cause of Action. Report the civil statute directly r.elatqd to the cause of action and give a brief description of the cause. Do not cite jurisdictional
           statutes unless diversity. Example: U.S. Civil Stalulc:l 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.       Requested in Complaint. Class Action. Place an "X" lin this box if you are filing a class action under Rule 23, F.R.Cv.P.
           Demand. In this space enter the actual dollar amount bring demanded or indicate other demand, such as a preliminary injunction.
           Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used IQ refJcncc related pending cases, if arty. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and         sig~ the civil co~er stet.
                              Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 3 of 34

              ~~\·.~\
              :~'\'.' \'~~~            .
                                                                                 f
                                                       frilC'IJDSTATESDISTRICTCOURT
FOR THE        ~riaN DISTRICT OF PEN                       SY        l      ' D ' lGNA'flON FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.               .                                                                                                     1'.8                       1967
            , . t'ff·
Add resso.f[ 1wn1 ..
                          Robert W. Mauthe, M.D., P.C, 4676 Route 309, Center Valley, PA                                                                                           ·
                         ~~~~~~~~~~~~--!~~~~~~~~~~~~~~~-


Address of Defendant:         LOR Ho!djnu Comomlfop· ]45 Fast Main Slp;t•t Wm:mw    l'N 46580                                       Zimmer H!QID£1 HQl(]tng<i   me.· 34;! ti~ Mam .S!Net W@[iffiW   IN :jb"ll;UI


Place of Accident, Incident or Transaction: :rv 1 v n.1,1u •s..             J   1n: 1 '~""''" y uuv y, 1 n.       .l   uv.J:r                                         <::"" '
                                                                                       (Use Reverse Side For Additional Space)

Does this civil action involve a nongovernmental corporate party wjth any parent corporation and any publicly held corporation o
     (Attach two copies of the Disclosure Statement fonn in accordanr with Fed.R.Civ.P. 7.l(a))                                                    Y.

Does this case involve multidisUict litigation possibilities'/                                                                                                    NolXI
RELATED CASE, IF ANY:
Case Number:                                               Judge                                                  Date Terminated:--------------~-----

Ci'il   = = .,..,,., reMod w""' "'fa ~w=d ~ '"' or.Jre rjuow;og qo~ti"'"
I.    Is this case related to property included in an earlier numbered suit pending or within one year previously te
                                                                                                                                                                     0
                                                                                                                                                                         ~
           . case mvo
2. Does th is     ·   Ive th c same issue
      action in this court?
                                    ·     o f'1act or grow out o f t h c same
                                                                          I

                                                                                 I    ·
                                                                              transaction        ·
                                                                                          as a pnor   ·
                                                                                                    sUJt pend'mg or w/.t

                                                                                                                                YesD
                                                                                                                                    preVJousIy Ntermmat ed
                                                                                                                      /h.m one year Yes'?


                                                                                                                                            NoW
3. Does this case involve the validity or infringement of a patent al leady in suit or any earlier numbered case p nding or within one year previously
      terminated action in this court?                                                                                          f                  YesD            NolXl


4. Is this case a second or successive habeas corpus, social securitylappcal, or prose civil rights case filed by th
                                                                                                                                                   YesD             Nol&!


CIVIL: (Place     t/ in ONE CATEGORY ONLY)
A. Federal Question Cases:                                                                                              B.
 1. o Indemnity Contract, Marine Contract, and All dther Contracts                                                      l. o Insurance Contract and Other Contracts
2. o FELA                                                                                                               2. o Airplane Personal Injury
3. o Jones Act-Personal Injury                                                                                          3. o Assault, Defamation
4. o Antitrust                                                                                                          4. o Marine Personal Injury
 5. o Patent                                                                                                            5. o Motor Vehicle Personal Injury
6. o Labor-Management Relations                                                                                         6. o Other Personal Injury (Please specify)
7.     D   Civil Rights                                                                                                 7. o Products Liability
8. o Habeas Corpus                                                                                                      8. o Products Liability -                  Asbestos
9. o Securities Act(s) Cases                                                                                            9. o All other Diversity Cases
             ocial Security Review Cases                                                                                        (Please specify)

             II other Federal Question Cases
                                 47 U.S.C. §227

                                                                             ARrITRA TION CERTIFICATION
                                                                                          (Check Appropriate Category)
              JarO ::snenKen                                              . couns
                                                                          I of record do hereby certify:
             uant to Local Civil Ruic 53.2, Section 3(c)(2), that to the test of my kn~wledge    and lief, the damages re<:overable in this civil action case exceed the sum of
            .00 O.O~;mfm<= .. Md"'"'                                                      ~
"=-iiid,.... - - ...,,,,.,,,..... n~
DATE:           05/10/2018                                               /. .         .                                                                         79800
                                                       '                                                                                                  Attorney LD.#
                                              NOTE:




                                                                                                                                                                 79800
                                                                                                                                                        Attorney l.D.#
CIV. 609 (5/2012)
             Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 4 of 34



  \\ ('
  ~~~
                         IN THE U1TED STATES DISTRICT COURT
                      FOR THE EAS~ERN DISTRICT OF PENNSYLVANIA

                      CASE MANAGtMENT TRACK DESIGNATION FORM

       Robert W. MauthevM.D., P.C.         I           ~                          CIVIL ACTION

Mehdi Medical LLC, LOR Holding Corporation, :                                            ~l (OJ

and Zimmer Biomet Holdings, Inc.
                                                       :                          NO. ll       (QJ
                                                                                                    ,
                                                                                                     ~   967
 In accordance with the Civil Justic~I Expense and Delay Reduction Plan of this court, counsel for
 plaintiff shall complete a Case Management Track Designation Fon11 in all civil cases at the time of
 filing the complaint and serve a c0pybn all defendants. (See§ 1:03 of the plan set forth on the reverse
 side of this fo1m.) In the event thJt a defendant does not agree with the plaintiff regarding said
 designation, that defendant shall,, wit_h its first appearance, submit to the clerk of court and serve on
 the plaintiff and all other parties, a dase Management Track Designation Form specifying the track
 to which that defendant believes tbelcase should be assigned.
 SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

 (a) Habeas Corpus - Cases brought bder 28 U.S.C. § 2241 through§ 2255.                                  ( )
 (b) Social Security - Cases requestilg review of a decision of the Secretary of Health
     and Human Services denying pl~intiff Social Security Benefits.                                      ( )
 (c) Arbitration - Cases required o.t.    ~e designated for arbitration under Local Civil Rule 53.2.     ( )
 (d) Asbestos - Cases involving claiths for personal injury or property damage from
     exposure to asbestos.       ,         I                                                             ( )
 (e) Special Management -Cases that do not fall into tracks (a) through (d) that are
     commonly referred to as complek and that need special or intense management by
     the court. (See reverse side Qf tHis form for a detailed explanation of special
     management cases.)                I



 (t) Standard Management- Cases           t~at do not fall into any one of the other tracks.

                                                                       Plaintiff Robert W. Mauthe M.D., P.C.
 Date                              · A~tornt 1auraw
                                                 1                             Attorney for
     (412) 713-5800                      (8~8) 769-1774                      rshenkan@shenkanlaw.com

 Telephone                               FkXNumber                            E-Mail Address


 (Civ. 660) I 0/02
          Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 5 of 34



                              Civil Just~ce Expense and Delay Reduction Plan
                             Section  l:Oj ·Assigoment to a Management Track
    (a)          The clerk of court \\'ill ~ssign cases to tracks (a) through (d) based on the initial pleading.

    (b)           In all cases not appropr~ate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of co~ and serve with the complaint on all defendants a case management
track designation form specifying that t~e plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case mattagement track designation form specifying the track to which that
defendant believes the case should be assigned.

    (c)
assignment of any case at any time.
     (d)
                                          l
               The court may, on its ok initiative or upon the request of any party, change the track


                 Nothing in this Plan is i tended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accdmplish cost and delay reduction.

     (e)        Nothing in this Plan is  i~tended
                                             to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges ·
of the court.                           I



                            SPECIAL MANAGEMENT CASE ASSIGNMENTS
                             (See §1.02 (e) Management Track Definitions of the
                               Civil Jus~ce Expense and Delay Reduction Plan)
     Special Management cases will usu~lly include that class of cases commonly referred to as "complex
litigation" as that term has been used inl the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present ~usual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require speci~l1or intense management by the court due to one or more of the
following factors: (1) large number of i:iarties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to p~epare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide prelinµnary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated ~sociation of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as thbse arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder'f derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (!1d criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first M~ual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.
                                 Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 6 of 34



 <[ \ I \Y
'3>"\ I { '   n.". 'i.i··.··.· ..•
              v
                                                     '




       ·~~v~                              IN THE 'uNiiJ'ED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRflvGT PENNSYLVANIA

         ROBERT "W_· MAUTH~, M:D".~.'C., a
         Pennsylvama corporat10n, nid1vfdually and
         as the representative of a class <hf
         similarly-situated persons,
                                                   )
                                                         I




                                                         I          )
                                                                        R
                                                                    )
                              Plaintiff,                            ) Case No.     · 1 i9!   :1 ~ ri"' ~ ~
                                                                    )               ' \Q)    Jt tr1   IQ)   ff
         v.                                                         ) CLASS ACTION
                                                                    )
         MEHDI MEDICAL LLC, LDR ,, OLDING                           )
         CORPORATION, and ZIMMER BIOMET                             )
         HOLDINGS, INC.                                             )
                                                                    )
                             Defendants.                            )

                                                   CLASS ACTION COMPLAINT

                             Plaintiff, Robert W. Matthe, M.D., P.C. ("Mauthe"), brings this action on

         behalf of itself and all other persons similarly situated and, except for those
                                                         I




         allegations pertaining to Plainrff or its attorneys, which are based upon personal

         knowledge, allege the following upon information and belief against defendants

         Mehdi Medical LLC ("Mehdi")l LDR Holding Corporation ("LDR"), and Zimmer

         Biomet Holdings, Inc. (collectivjly "Defendants"):

                                                   PRElIMINARY STATEMENT

                              L       Defendants haVe 1ent advertisements by facsimile in violation of the

         Telephone Consumer Protection Act, 47 U.S.C. § 227, and the regulations the

         Federal Communications Comlission ("FCC") has prescribed thereunder, 4 7 C.F.R.
                                                         I
         § 64.1200 (collectively, the "TCBA").
       Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 7 of 34




       2.    Defendants sent Plaintiff at least one advertisement by facsimile and

in violation of the TCPA. Exhibit A. Plaintiff did not expressly consent to receive

Defendants' advertisement by    ffx. Moreover, Plaintiff does not have an established
business relationship with Defendants and Defendants' fax (Exhibit A) does not

contain an opt out notice.

       3.    Plaintiff brings tlii.is action on behalf of itself and a class of all

similarly-situated persons, and I against Defendants, seeking statutory damages for

each violation of the TCPA, t1ebling of the statutory damages, injunctive relief,

compensation and attorney     fee~    (under the conversion count), and all other relief

the Court deems appropriate u+er the circumstances.                                 .

       4.    Unsolicited advertising faxes cause damage to their recipients. A junk

fax recipient loses the use of its fax machine, paper, and ink toner. Unsolicited
                                  I
advertising faxes tie up the telephone lines, prevent fax machines from receiving

authorized faxes, prevent their lse for authorized outgoing faxes, cause undue wear

and tear on the recipients' fax tachines, and require additional labor to attempt to

discern the source and purposr of the unsolicited message. Moreover, a junk fax

interrupts the recipient's privry. An unsolicited fax also wastes the recipient's

valuable time that would have ieen spent on something else.

      5.     The TCPA prohiblits the use of "any telephone facsimile machine,

computer or other device tq send, to a facsimile machine, an unsolicited

advertisement .... " 4 7 U.S.C. §I 227 (b)(l)(C).   The TCPA defines an "unsolicited

advertisement" as "any    materi~l    advertising the commercial availability or quality




                                             2
       Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 8 of 34




of any property, goods, or servirs which is transmitted to any person without that

person's prior express invitatipn or permission .... "    Id., § 227 (a)(5) (emphasis

added).

      6.     Defendants' fa:x: advertises the "Mobi-C'' cervical disc prosthesis

medical implant device, a corhmlercially available product. Exhibit A.

       7.    Other information! on Defendants' fax (Exhibit A) is mere pretext or

subterfuge for evading the TCP   t'
      8.     Defendants' clientr are medical patients in need of medical implants

which must be prescribed and surgically implanted by physicians.

      9.     Defendants   provid~ a free meal to health professionals to learn about
Defendants' medical implant !products so that those health professionals will

prescribe and implant Defenidants' devices in their patients or recommend

Defendants' devices to their pattents.     .

                     PARTIES.    ~URISDICTION, AND VENUE
      10.    Plaintiff Robert   wl   Mauthe, M.D., P.C. is a Pennsylvania professional
                                 I                             ~
corporation ·with its principal place of business in Quakertown, Pennsylvania.

      11.    On informatiori ard belief, Mehdi Medical LLC is a Pennsylvania

limited liability company with ir principal place of business in Philadelphia, PA.

      12.    On information ajd belief, LDR Holding Corporation is a Delaware

corporation with its principal pllace of business in Austin, TX.

      13.    On information and belief, Zimmer Biomet Holdings, Inc.             IS   a

Delaware corporation with its pbncipal place of business in Warsaw, IN.




                                               3
         Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 9 of 34




        14.    The Court has subiect matter jurisdiction under 28 U.S.C. § 1331 and

47   u.s.c. § 227.
        15.    Personal jurisdictibn exists over Defendant Mehdi in Pennsylvania

because Defendant is a PennsLvania limited liability entity and has transacted

business and committed tortioul acts within the State.

        16.    Personal    jurisdict~on   exists over Defendant LDR in Pennsylvania

because Defendant markets and sells its medical products in Pennsylvania and has

transacted business and commitlted tortious acts within the State.

        17.    Personal jurisdictiln exists over Defendant Zimmer in Pennsylvania
                                    I

because Defendant markets and sells its medical products in Pennsylvania and has



                                   r
transacted business and commJted tortious acts within the State.
                                    I

        18.   Venue is proper             the Eastern District of Pennsylvania because

Defendants committed statutory torts within this District and a significant portion

of the events took place here.

                                            FACTS
        19.    Defendants sent advertisements by facsimile to Plaintiff and a class of
                                    I         .


similarly-situated persons. Wrether Defendants did so directly or with the

assistance of a third party (y.et [nknown to Plaintiff), Defendants are directly liable

for violating the TCP A.

        20.    Plaintiff has recei ed at least one of Defendants' advertisements by

facsimile. A true and correct coJy of the fax Plaintiff received on or about September

25, 2014 is attached as Exhibit IA. Plaintiff intends to discover the number of other




                                                  4
      Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 10 of 34




Defendants' advertisements sent to Plaintiff by fax.

       21.    Exhibit A is a one1page document Defendants sent by fax advertising

Defendants' Mobi-C cervical dlisc prosthesis medical implant device. The fax
                  .             I

advertises the commercial availability of Defendants' and quality of Defendants'

medical device.

       22.    Exhibit A promores the availability of Defendants' product by

containing a photograph of    D~fendants'    Mobi-C cervical disc prosthesis medical

implant device.

       23.    Exhibit A promotes the availability of Defendants' product by stating

tha·t the Mobi-C cervical disc p[I osthesis medical implant device is "FDA approved

for 1 and 2 levels."

       24.    Exhibit A promqtes the availability of Defendants' product by

presenting the Mobi-C cervical! disc prosthesis medical implant device as a "New

Treatment OptionO in Cervical Disc Surgery."

       25.    Exhibit A promotles the quality of Defendants' medical device by

implying that it is approved land recommended by "Fellowship Trained Spine

Surgeon" Dr. Amir Fayyazi, M.ID.

       26.    Exhibit A promotts the quality of Defendants' Mobi·C cervical disc

prosthesis medical device by presenting it as an "Alternative to Fusion."

       27.    The Mobi-C cervicL disc medical implant was approved for use in the

United States by the FDA in,All'gust 2013.

       28.    The Mobi-C cervital disc prosthesis implant was initially available




                                          5
        Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 11 of 34




through LDR.

        29.     LDR was acquired [by Zimmer in 2016.

        30.     Zimmer makes its Imedical implant device products available through .

the services of independent saler representatives.

        31.     Zimmer independent sales representatives earn a commission for each

    . 1 d ev1ce
me dica         · 1ante d m
            · imp         · a patient b y a p h ys1cian.
                                   I   ·          · ·

        32.     On information ant belief, Zimmer retains all profit from the sale of its

medical im~lant devices aside [rom the commission paid to its independent sales

re pre senta ti ves.

        33.     On information antl belief, the independent sales representative model

is the industry standard methor for orthopedic and neurosurgical medical implant

device companies to distribute their products.

        34.     On information alld belief, Mehdi Medical was an independent sales

representative for LDR in 2014.

        35.     On information a1d belief, Mehdi Medical was an independent sales

representative for Zimmer afterl Zimmer acquired LDR.

                                ::i.nlCl belief, Mel

Mehdi, with the assistance of LDR, organized a dinner for health professionals to

promote the Modi-C cervical disl prosthesis medical device.

        37.     On information a+ belief, Mehdi Medical, through its principal Omar

Mehdi, with the assistance of LPR, promoted the Mobi-C dinner by sending Exhibit

A by facsimile to the offices· of !health professionals in a position to recommend or




                                                6
         Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 12 of 34




implant the Mobi-C or other spihe implant devices.

         38.   The dinner to prlmote Defendants' Mobi-C cervical disc prosthesis

device was to take place on OctJber 22, 2014.

         39.   Dr. Amir Fayyazi,I M.D. gave a presentation entitled "Mobi-C Total

Disc Arthroplasty" on October 2Q, 2014.

         40.   Dr. Robert W. Mathe is a physician in a position to and qualified to

recommend cervical disc implanit procedures and devices.

         41.   Exhibit A does notlinclude the mandatory opt-out notice required by 47

C.F.R. § 64.1200 (a) (4).
     I
         42.   Plaintiff did not expressly invite or give permission to anyone to send

Exhibit A or any other advertislment from Defendants' to Plaintiffs fax machine.

         43.   On information lnd belief, Defendants sent advertisements by
                                   I
facsimile to Plaintiff and more than 39. other persons in violation of the TCPA.

         44.   Plaintiff and the Jher class members owe no obligation to protect their

fax machines from Defendants.I Their fax machines are ready to send and receive

their urgent communications, br private communications about patients' medical

needs, not to receive Defendantt' unlawful advertisements.

                            CLAS$ ACTION ALLEGATIONS
         45.   Plaintiff brings. tht'ls action as a class action on behalf of itself and all

others similarly situated as me . hers of a class, initially defined as follows:

         Each person sent one 'r more telephone facsimile messages from
         "LDR" on or after Mar 10, 2014 that invited fax recipients to
         participate in a presentrtion promoting the "Mobi-C" or other FDA
         approved medical implant device.



                                             7
      Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 13 of 34




Plaintiff anticipates modifying lthe proposed class definition-including proposing

subclasses if appropriate-after discovery about the scope of Defendants' fax

        · ·
a d vertismg      ·
             practices            I                              · 1 a rr·irmative
                       as we 11. at'! d'iscovery as to any potentia            · d efenses
Defendants may plead.

      46.      Excluded from tje class are Defendants, any entity in which

Defendants have a controlling Tterest, each of Defendants' officers, directors, legal

representatives, heirs, success<Drs, and assigns, and any Judge assigned to this

action, including his or her im1ldiate family.

      4 7.     On information ard belief, Defendants' fax advertising campaigns

involved other, substantially-si.Jllilar advertisements also sent without the opt-out

notice required by the TCPA. !Plaintiff intends to locate those advertisements m

discovery.

      48.      In this action, Pla!intiff intends to discover, include, and resolve the

merits of claims about all    ad~ertisements Defendants sent by fax. Exhibit B, a
Demand for Preservation of All    ~angible Documents Including Electronically Stored
Information.

      49.      This action is brolught and may properly be maintained as a class

action pursuant to Fed. R. Civ. P. 23. This action satisfies Rule 23 (a)'s numerosity,

commonality, typicality, and ahequacy requirements. Additionally, prosecution of

Plaintiffs claims separately frot the putative class's claims would create a risk of

inconsistent or varying adjudiqations under Rule 23 (b) (1) (A). Furthermore, the

questions of law or fact that lare common in this action predominate over any




                                            8
      Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 14 of 34




individual questions of law or frt making class representation the superior method

to adjudicate this controversy urer Rule 23 (b) (3).

       50.    Numerosity/impracticality of joinder. On information and belief, the

class consists of more than 39 lpersons and, thus, is so numerous that individual

joinder of each member is imprr cticable. The precise number of class members and
                                   1




their identities are unknown. tio Plaintiff, but will be obtained from Defendants'

records or the records of third p. rties.          ·

       51.

interest and common questions      r
              Commonality and tredominance. There iS a well-defined community of

                                        law and fact that predominate over any questions

affecting only individual memoers of the class. These common legal and factual

questions, which do not vary frlm one class member to another, and which may be

determined without reference      tl   the individual circumstances of any class member,

include, but are not limited to   t~e following:
              a.     Whether EJhibit A and other yet-to-be-discovered facsimiles

       sent by or on behalf of D!efendants advertised the commercial availability or

       quality of property, goodsl or services;

              b.     Whether•   D~fendants     were the senders of   advertisem~nts   by

      facsimile;

              c.     The manner1 and method Defendants used to compile or obtain

      the list(s) of fax numbers Ito which Defendants sent the faxes at issue;

              d.     Whether th, Court should award statutory damages to Plaintiff

      and the other class memlJers;                ·




                                              9
      Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 15 of 34




             e.     If the Court finds that Defendant(s) willfully or knowingly

      violated the TCPA, wh}her the Court should exercise its discretion to

      increase the amount      ~f   tie statutory damages award to an amount equal to

      not more than three timer the amount;

             f.     Whether the Court should enjoin Defendants from faxing

      advertisements in the futlre; and

             g.     Whether DJfendants' conduct as alleged herein constituted

      convers10n.

      52.    Typicality of claims. Plaintiffs claims are typical of the claims of the
                                     I
other class members, because raintiff and all class members were injured by the

same wrongful practices. Plaintiff and the members of the class received

Defendants' advertisements by facsimile and those advertisements did not contain

the opt-out notice required by tihe TCPA. Under the facts of this case, because the

focus is upon Defendants' conduct, if Plaintiff prevails on its claims, then the other

putative class members will prefail as well.

      53.    Adequacy of rei;>rerntation. Plaintiff is an adequate representative of

             ause its mterests lo not conflict with the mterests of the cl

to represent. Plaintiff has retailed counsel competent and experienced in complex

class action litigation, and   TC~ A     litigation in particular, and Plaintiff intends to

vigorously prosecute this actionl. Plaintiff and its counsel will fairly and adequately

protect the interest of members bf the class.




                                              10
      Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 16 of 34




      54.     Prosecution of separate claims would yield inconsistent results. Even

though the questions of fact aJI d law in this action are predominantly common to

Plaintiff and the putative cl ss members, separate adjudication of each class
                                 1




member's claims would yield. inconsistent and varying adjudications. Such

inconsistent rulings would creale incompatible standards for Defendants to operate

under if/when class members! bring additional lawsuits concerning the same

unsolicited fax advertisements bf if Defendants choose to advertise by fax again in

the future.

      55.     A class action is lthe superior method of adjudicating the common

questions of law or fact that preldominate over individual questions. A class action is

superior to other available melhods for the fair and efficient adjudication of this
                                 I                                         .

lawsuit, because individual litigation of the claims of all class members is

ec·onomically unfeasible and prLedurally impracticable. The likelihood of individual

class members prosecuting sebarate claims is remote, and even if every class

member could afford individJal litigation, the court system would be unduly

burdened by individual litigatiJdn of such cases. Plaintiff knows of no difficulty to be

encountered in the   manage~e    t of this action that would preclude its maintenance

as a class action. Relief concerLng Plaintiffs rights under the laws herein alleged

and with respect to the class wluld be proper. Plaintiff envisions no difficulty in the
                                     1




management of this action as a lclass action.




                                          11
       Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 17 of 34




                               COUNT I
             TELEPHONE CONSUMER PROTECTION ACT 47 U.S.C.                   227

       56.      Plaintiff incorporates the preceding paragraphs as though fully set

forth herein.

       57.      Plaintiff brings Cqunt I on behalf of itself and a class of similarly

situated persons against Defen,ants.

       58.      The TCPA prohi bf ts the "use of any telephone facsimile machine,

computer or other device to Jend an unsolicited advertisement to a telephone

facsimile machine .... " 4 7 U.S.C.1§ 227 (b) (1).

       59.      On information al d belief, Defendants or third parties on behalf of
                                   1




Defendants sent Exhibit A t , the facsimile machines of Plaintiff and others

similarly situated using a telepione facsimile machine, computer, or other device.

       60.      The TCPA defines "unsolicited advertisement" as "any material

advertising the commercial avajlability or quality of any property, goods, or services

which is transmitted to any :person without that person's express invitation or

permission." 4 7 U.S.C. § 227    (J    (4).

       Ql.      Plaintiff did not e1pressly give permission or invitation to receive any

advertisement from any Defendfint by fax.

       62.      Exhibit A   advert~ses        Defendants' commercially available Mobi-C

cervical disc prosthesis medical ~mplant device. Exhibit A.

       63.      Defendants' fax offers a meal at Kame, a Japanese steakhouse, to

listen to Defendants' presenta#ion promoting the Mobi-C cervical disc prosthesis

medical device as an alternative to cervical spine fusion. Exhibit A.



                                                12
      Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 18 of 34




       64.    Defendants mark°t their medical implant devices to physicians and

other health professionals   i~   a rosition to diagnose, implant, or recommend spinal

fusions or alternative medicail implants.

       65.    Defe~dants sent Elhibit A to Plaintiff and other health professionals
in a position to diagnose, imJlant, or recommend spinal fusions or alternative

medical implants.

       66.    Through Exhibit     i'    Defendants intended to influence physicians and

health professionals to recomrend the Mobi-C or other LDR products to the

physicians' patients.

       67.    Through Exhibit A, Defendants intended to increase the sales of its

Mobi-C and other medical impldnt devices.

       68.   The TCPA providet a private right of action as follows:

                     3.     Privaite right of action. A person may, if
              otherwise permittkd by the laws or rules of court of a
              state, bring in an ~ppropriate court of that state:

                             (A) tAn action based on a violation of this
                     subsection··· o the regulations prescribed under this
                     subsection t enjoin such violation,
                                   1




                           (B) /An action to recover for actual
                    monetary loss from such a violation, or to receive
                    $500
                    •
                          in damlages
                              .    I
                                      for each such violation, whichever
                    is greater, oi:

                           (C)     I   Both such actions.

47 U.S.C. § 227 (b) (3).

      69.    The Court, in its /discretion, may treble the statutory damages if it

determines that a violation Waslknowing or willful. 47 U.S.C. § 227 (b) (3).



                                               13
        Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 19 of 34




        70.      Here, Defendants kriolated 47 U.S.C. § 227 (b) (1) (C) by sending an

advertisement by facsimile (sth as Exhibit A) to Plaintiff and the other class

members without their prior exli>ress invitation or permission.

        71.      Exhibit A does 'nail provide the information the TCPA requires for a

compliant opt-out notice.

        72.      Defendants violated the TCPA by failing to state on the first page of

e~ch   fax advertisement thatthrr failure to comply with an opt-out request within

30 days would be unlawful. Exhibit A

        73.      Defendants    violate~ the TCPA by failing to inform the recipient of any
method by which to request th1 fax sender not send            ~ny future advertisements by
facsimile. Exhibit A       .         I




        7 4.     Facsimile advertising imposes burdens on recipients that are distinct

from the burdens imposed by otrer types of advertising. The reqUired opt-out notice

provides recipients the necessaljy information to opt-out of future fax transmissions,

including a notice that the      sen~er's    failure to comply with the opt-out request will

be unlawful. 47 C.F.R. § 64.1200 (a) (4).

        75.      The TCPA is a      s~rict   liability statute and Defendants are liable to

Plaintiff and the other class members even if their actions were negligent. 47 U.S.C.

§ 227 (b) (3).

        76.      If Defendants' actibns were knowing or purposeful, then the Court has

the discretion to increase tJ:ie !statutory damages up to 3 times the amount. 47

U.S.C. § 227 (b) (3).




                                                 14
       Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 20 of 34




       77.      Mehdi Medical is liable for the fax advertisements at issue because it

sent the faxes, caused the faxes)to be sent, participated in the activity giving rise to

or constituting the violation,, tl!i.e faxes were sent on its behalf, or under general

principles of vicarious liability, )including actual authority, apparent authority and

ratification.

       78.      LDR is liable for ie fax advertisements at issue because it sent the

faxes, caused the faxes to be sent, participated in the activity giving rise to or

constituting the violation, dilcted the activities of ,Mehdi Medical, provided

material to be used in the fax, tlhe faxes were sent on its behalf, the faxes promoted

LDR's goods or services, or undrr general principles of vicarious liability, including

actual authority, apparent authority and ratification.

       79.      Zimmer is liable f,r the fax advertisements at issue because the faxes

promoted Zimmer's goods or       s~rvices,   under successor liability, or under general

principles of vicarious liability,)including actual authority, apparent authority and

ratification.

       80.      Defendants' actiols damaged Plaintiff and the other class members.

Receiving Defendants' junk fa es caused the recipients to lose paper and toner
                                  I

consumed in the printing of [)~lendants' faxes. Moreover, the subject faxes used the

fax machines of Plaintiff and t1e other class members. The subject fax cost Plaintiff

time, as Plaintiff and their emrloyees wasted their time receiving, reviewing and

routing Defendants' illegal fa:xr. That time otherwise would have been spent on

Plaintiffs business activities. !Defendants' faxes unlawfully interrupted Plaintiff




                                             15
      Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 21 of 34




and the other class members' lprivacy interests in being left alone. Finally, the

injury and property damage sistained by Plaintiff and the other class members

from the sending of unlawful I fax advertisements occurred outside Defendants'

premises.

      WHEREFORE, Plaintiff,! individually and on behalf of all others similarly

situated, demands judgment       ~n   its favor and against Defendants, jointly and

severally as follows:

      A.       That the Court aCljudge and decree that the present case may be

properly maintained as a class Ltion, appoint Plaintiff as the representative of the

class, and appoint Plaintiffs cojnsel as counsel for the class;

      B.       That the Court awlrd $500.00 in statutory damages for each violation

of the TCPA;

      C.       That, if it finds IDefendant(s) willfully or knowingly violated the

TCPA's faxing prohibitions, thelCourt exercise its discretion to increase the amount

of the statutory damages awarf to an amount equal to not more than 3 times the

amount (Plaintiff requests tr,ebl~ng);                                      ·

      D.       That the Court enter an injunction prohibiting Defendants from

violating the TCPA; and

      E.       That the Court' award costs and such further relief as the Court may

deem just and proper.




                                           16
      Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 22 of 34




                                        COUNT II
                                       CONVERSION


       81.    Plaintiff incorpora~es by reference all preceding paragraphs as though

fully set forth herein.

       82.    Plaintiff brings Count II on behalf of itself and a class of similarly

 .
situate d persons an d agamst   le dants.
                          . :D e1en

       83.    By sending advltisements to their fax              machines,    Defendants

improperly and unlawfully conrerted the class's fax machines to Defendants' own

use. Where printed (as in P~aintiffs cases), Defendants also improperly and

unlawfully converted the class !members' paper and toner to Defendants' own use.

Defendants also converted Plaiilitiff s time to Defendants' own use, as they did with

the valuable time of the other class members.

       84.    Immediately prior ro the sending of the unsolicited faxes, Plaintiff and

the other class members each owned an unqualified and immediate right to

possession of their fax   machine~,   paper, toner, and employee time.

       85.    By   sending     them     unsolicited   faxes,   Defendants    permanently
                                  I
misappropriated the class memrers' fax machines, toner, paper, and employee time

to their own use. Such    misa~propriation   was wrongful and without authorization.

       86.    Defendants    kn~:w Lshould have known that their misappropriation of
paper, toner, and employee t1m1 was wrongful and without authorization.

       87.    Plaintiff and th!;e ofher class members were deprived of the use of the

fax machines, paper, toner,    ;,an~ employee time, which could no longer be used for
any other purpose. Plaintiff   an~ each class member thereby suffered damages as a
                                             17
      Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 23 of 34




result of their receipt of unsolicited fax advertisements from Defendants.

       88.   Defendants' unsoliLted fax effectively stole Plaintiffs employees' time

because persons employed by !Plaintiff were involved in receiving, routing, and

reviewing Defendants' illegal lfaxes. Defendants knew or should have known

employees' time is valuable to Plaintiff.

      WHEREFORE, Plaintiff,! individually and on behalf of all others similarly

situated, demands       judgme~t ~n   its favor and against Defendants, jointly and

severally as follows:

      A.     That the Court aajudge and decree that the present case may be

properly maintained as a class Ltion, appoint Plaintiff as the representative of the

class, and appoint Plaintiffs ,cojnsel as counsel for the class;

      B.     That the Court awtrd appropriate damages;

      C.     That the Court award pumtive damages;

      D.     That the Court awLd attorney's fees;

      E.     That the Court awrlrd costs of suit; and

      F.     That the Court a ard such further relief as it may deem just and

proper under the circumstanceJ




                                            18
      Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 24 of 34




May 10, 2018                       Respectfully submitted,




                             By:


                                   Richard Shenkan (PA 79800)
                                   Shenkan Injury Lawyers, LLC
                                   P.O. Box 7255
                                   New Castle, PA 16107
                                   (412) 716·5800
                                   (888) 769· 177 4 (fax)
                                   rshenkan@shenkanlaw.com


                                   Phillip A. Bock (pro hac vice will be sought)
                                   Bock, Hatch, Lewis & Oppenheim, LLC
                                   134 N. La Salle St., Ste. 1000
                                   Chicago, IL 60602
                                   (312) 658·5500
                                   (312) 658·5555 (fax)
                                   phil@classlawyers.com




                                     19
Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 25 of 34




             't/ ..LI 81 H~3
L····.···~·-•·   .           .
                                 ..   ..   ().·
                                                 '"-·/
                                                               ..
                                                                                       Case 5:18-cv-01967-JLS Document,/"'""\
                                                                                                                         1 Filed 05/10/18 Page 26 of 34
                                                                                                                                  -_   ,   ... -~-)
                                                                                                                                                                                                       ;
                                                                                                                                                                                                           ~..... \




          1.         ~                ~; . :..~.-_.;:    ...

     ··L!· .·                          ::tf;;l;~::r..                       ·.1NJ~'Wl;re~tment.Options in Cervical D,is.c su_rgery
          • c .· .. ·...                   51. · .· ;.~. i ,~vfu~g:                                 OQCtQrs. NurSf;}         Pr~tioners, and Physician Assistant:s
1·      ·y
                                                                -/· ~--"1
j

                     m
                     IS)
                     m
                     lS1
                                                                                                                                                 Presentation by:
J                                                                                                                                                Amir ~ayyazi, MD
l                    w
                     0                                                                                                                        .Fellowship Trained Spine Surgeon
l
•l
                     H·

                     ~
!                    x
                     w
i                    ~
l
·1                                                                               MOBl:.CFDA.approv.:;d fnr 1.an!l 2 Levels
                                                                                                                                                 Understanding the Role of
1
j                                                                                                                                                Cervical Disc Replacement as
I
J~
i I              ·                                                               October 22 11d 2014                                        ·an Alternative to Fusion.
~
1-- -                .-1                                                         6~30'.~-9PM                                                                      ·-          ---   - -   -   -~




                                                                                                                                                  r-17:~
                     (Yl
l
                                                                                                                                                 ''\J~Y-
                                                                                                                                                  \J q.-~-r.f'e               KOME
                     ~
                     N
                     Ul                                                                    .           .                                                          Location:
                     en                                                                                                                                                                            ·
                     co
                     ID
                     .-I
                     U)
                                                                                 Sponsoredby LDR .                                                                2880 Center VaUey Parkway
                                                                                                                                                      'J..;r       Center Valley PA 18034
                     lD
                     N
                      ..
                     .-1
                     <:-i
                     v
                     .-1
                     ID
                     t'I
                     .....
                     U1

           . ~
             .       l!i)              ·•..·D·•
                                                           Please RSVP _by 10/15. Omar Mehdi 610~306.-3111 or Mehdi.omar@gmail.com .
                                                                             .     .                                                         .           .
Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 27 of 34




             81J81H~3
      Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 28 of 34




  BOCK, HATCH, LEWIS & OPPENHEIM, LLC
                                '       I



                    134   No~t~ La Salle Street,             Suite 1000
                                •       I
                                    fhicago, IL 60602
               312-658-550(1) (Phone) • 312-658-5555 (Fax)

                                              May 10, 2018

                                        IP.
In re: Robert W. Mauthe, M.D., C. v. Mehdi Medical LLC, LDR Holding
       Corporation, and ZimmerlBiomet Holdings, Inc.(ED Pennsylvania).

            Demand for Pres rvation of All Tangible Documents
               Including ElJctronically Stored Information

       As part of the Class AJion
                              I
                                   Complaint against Mehdi Medical LLC, LDR
Holding Corporation, and Zimmer
                              I
                                        Biomet Holdings, Inc. ("Defendants"),
plaintiff, Robert W. Mauthe, M.D., P.C., hereby issues a demand for Defendants
to preserve all tangible documbnts, including electronically stored information.

      As used in this documlnt, "you" and "your" refers to each Defendant,
and its predecessors, succes~ors, parents, subsidiaries, divisions or affiliates,
and its respective officers!, directors, agents, attorneys, accountants,
employees, partners or othvr Rersons occupying similar positions or performing
similar functions.

      You should anticipat~ tfat much of the information subject to disclosure
or responsive to discovery in this matter is stored on your current and former
computer systems and othe~ media and devices (including personal digital
assistants, voice-messagin: slstems, online repositories and cell phones).

      Electronically stored:. inrormation (hereinafter "ESI") should be afforded
the broadest possible defin~tioln and includes (by way of example and not as an
exclusive list) potentially r.· ellvant information electronically, magnetically or
optically stored as:         •
                            :                                         '




• Digital communications (¢.g., e-mail, voice mail, instant messaging);
• Word processed docum,en s (e.g., Word or WordPerfect documents and
drafts);                    '       I

• Spreadsheets and tables ~e.g., Excel or Lotus 123 worksheets);
•Accounting Application D:a.t~ (e.g., QuickBooks, Money, Peachtree data files);
• Image and Facsimile File~ (ejg., .PDF, .TIFF, .JPG, .GIF images);
• Sound Recordings (e.g., .V/Af and .MP3 files);
•Video and Animation (e.g.~, ·1VI and .MOV files);
• Databases (e.g., Access, Qra~le, SQL Server data, SAP);


                                                   1
        Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 29 of 34




•   Contact and Relationship Management Data (e.g., Outlook, ACT!);
•   Calendar and Diary Applicatton Data (e.g., Outlook PST, Yahoo, blog tools);
•   Online Access Data (e.g., Temporary Internet Files, History, Cookies);
•   Presentations (e.g., PowerPoi~t, Corel Presentations)
•   Network Access and Server Activity Logs;
•   Project Management Application Data;
•   Computer Aided Design/Draring Files; and,
•   Back Up and Archival Files (~.g., Zip, .GHO).

      ESI resides not only in lareas of electronic, magnetic and optical storage
media reasonably accessible to you, but also in areas you may deem not
reasonably accessible. You .ar(( obliged to preserve potentially relevant evidence
from both these sources of E$I, even if you do not anticipate producing such
ESL

       The demand that you ]>reserve both accessible and inaccessible ESI is
reasonable and necessary. Pilirsuant to amendments to the Federal Rules of
Civil Procedure that have beeh approved by the United States Supreme Court
(eff. 12/ 1/05), you must iden ify all sources of ESI you decline to produce and
                                1




demonstrate to the court why such sources are not reasonably accessible. For
good cause shown, the court may then order production of the ESI, even if it
finds that it is not reasonably accessible. Accordingly, even ESI that you deem
reasonably inaccessible must be preserved in the interim so as not to deprive
the plaintiffs of their right to secure the evidence or the Court of its right to
adjudicate the issue.

              A.    Preservation Requires Immediate Intervention

      You must act immediatlly to preserve potentially relevant ESI regarding
the time period of May 2014 to the date You receive this letter. Potentially
relevant ESI includes, but is not limited to information:
                                1




1. Regarding the events ani causes of action described in Plaintiffs Class
Action Complaint; and
2. Regarding Your claims or d, fenses to Plaintiffs Class Action Complaint.

       Adequate preservatiqn 'f ESI requires more than simply refraining from
efforts to destroy or dispose of such evidence. You must also intervene to
prevent loss due to routine operations and employ proper techniques and
protocols suited to protection of ESL Be advised that sources of ESI are altered
and erased by continued 1..:1.se of your computers and other devices. Booting a
drive, examining its contents or running any application will irretrievably alter
the evidence it contains and may constitute unlawful spoliation of evidence.
Consequently, alteration ani erasure may result from your failure to act
diligently and responsibly to frevent loss or corruption of ESL Nothing in this
demand for preservation . of ESI should be understood to diminish your

                                         2
      Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 30 of 34




concurrent obligation to pr~serve document, tangible things and other
potentially relevant evidence.

                   B.   . Su~pelnsion of Routine Destruction

       You are directed to Immediately initiate a litigation hold for potentially
relevant ESI, documents and tangible things, and to act diligently and in good
faith to secure and audit compliance with such litigation hold. You are further
directed to immediately iderttify and modify or suspend features of your
information systems and dedces that, in routine operation, operate to cause
                                    1



the loss of potentially relevanl ESL Examples of such features and operations
include:

• Purging the contents of e-mail repositories by age, capacity or other criteria;
• Using data or media wipir g, disposal, erasure or encryption utilities or
                                    1




devices;            .
• Overwriting, erasing, destroYjing or discarding back up media;
• Re-assigning, re-imaging or dlisposing of systems, servers, devices or media;
• Running antivirus or other p!rograms effecting wholesale metadata alteration;
• Releasing or purging online ~torage repositories;
• Using metadata stripper util~ties;
• Disabling server or IM logging; and,
• Executing drive or file defr.atentation or compression programs.

                          C.    IGuard Against Deletion

       You should anticipate tlitat your employees, officers or others may seek to
hide, destroy or alter ESI ;antl act to prevent or guard against such actions.
Especially where company rtjachines have been used for Internet access or
personal communications, yoUi should anticipate that users may seek to delete
or destroy information they Iil egard as personal, confidential or embarrassing
                                1




and, in so doing, may also delete or destroy potentially relevant ESL This
concern is not one unique to you or your employees and officers. It's simply an
event that occurs with such regularity in electronic discovery efforts that any
custodian of ESI and their co{insel are obliged to anticipate and guard against
its occurrence.

                         D. ·   Preservation by Imaging

       You should take affitmative steps to prevent anyone with access to your
data, systems and archives flom seeking to modify, destroy or hide electronic
evidence on network or local hard drives (such as by deleting or overwriting
files, using data shredding a d overwriting applications, defragmentation, re-
imaging or replacing drives, encryption, compression, steganography or the
like). With respect to local \1-ar~ drives, one way to protect existing data on local
hard drives is by the creatiqn and authentication of a forensically qualified

                                         3
      Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 31 of 34




image of all sectors of the d~ive. Such a forensically qualified duplicate may
also be called a bitstream ifage or clone of the drive. Be advised that a
conventional back up of a liard drive is not a forensically qualified image
because it only captures acbve, unlocked data files and fails to preserve
forensically significant data tHat may exist in such areas as unallocated space,
slack space and the swap file.l

       With respect to the, h • rd drives and storage devices of each of the
persons named below and of kach person acting in the capacity or holding the
job title named below, as Wel~ as each other person likely to have information
pertaining to the instant actton on their computer hard drive(s), demand is
made that you immediately,! obtain, authenticate and preserve forensically
qualified images of the hard drives in any computer system (including portable
and home computers) used ~y that person during the period from February
2011 to today's date as well as
                              I
                                  recording and preserving
                                                         •
                                                           the system time and
date of each such computer.

       Once obtained, each su;ch forensically qualified image should be labeled
to identify the date of acquisit~on, the person or entity acquiring the image and
the system and medium froml which it was obtained. Each such image should
be preserved without altera.tiof'

                      E.     Pr,eservation in Native Form

      You should anticipate !that certain ESI, including but not limited to
spreadsheets and databases, Fill be sought in the form or forms in which it is
ordinarily maintained. Accorclingly, you should preserve ESI in such native
forms, and you should not elect methods to preserve ESI that remove or
                               1




degrade the ability to search tour ESI by electronic means or make it difficult
or burdensome to access o:i: use the information efficiently in the litigation. You
should additionally refrain lfrom actions that shift ESI from reasonably
accessible media and form;s toI less accessible tnedia and forms if the effect of
such actions is to make such ESI not reasonably accessible.

                                   F.   Metadata

       You should further ant~cipate the need to disclose and produce system
and application metadat(l 4lnd act to preserve it. System metadata is
information describing the history and characteristics of other ESL This
information is typically assodated with tracking or managing an electronic file
and often includes data rtjflefting a file's name, size, custodian, location and
dates of creation and las't Todification or access. Application metadata is
information automatically iri9luded or embedded in electronic files but which
may not be apparent to ~ lf-ser, including deleted content, draft language,
commentary, collaboration! apd distribution data and dates of creation and
printing. Be advised that met~data may be overwritten or corrupted by careless


                                         4
       Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 32 of 34




handling or improper steps ~o preserve ESL For electronic mail, metadata
includes all header routing data and Base 64 encoded attachment data, in
addition to the To, From, Subjbct, Received Date, CC and BCC fields.

                                         G.    Servers

       With respect to servers like those used to manage electronic mail (e.g.,
                                    I

Microsoft Exchange, Lotus Domino) or network storage (often called a user's
"network share"), the comple~e contents of each user's network share and e-
mail account should be pre~erved. There are several ways to preserve the
contents of a server dependink upon, e.g., its RAID configuration and whether
it can be downed or must l_be online 24 / 7. If you question whether the
preservation method you pur~ue is one that we will accept as sufficient, please
call to discuss it.

  H.     Home Systems, Lapjops, Online Accounts and Other ESI Venues

      Though we expect that! you will act swiftly to preserve data on office
workstations and servers, yo.JI should also determine if any home or portable
                                                                            •
systems may contain potentfally relevant data. To the extent that officers,
board members or employees lhave sent or received potentially relevant e-mails
or created or reviewed pote:µtially relevant documents away from the office, you
must preserve the conten:ts · lof systems, devices and media used for these
purposes (including not only potentially relevant data from portable and home
computers, but also from portable thumb drives, CD-R disks and the user's
PDA, smart phone, voice mailbox or other forms of ESI storage.). Similarly, if
employees, officers or board members used online or browser-based email
accounts or services (such as AOL, Gmail, Yahoo Mail or the like) to send or
receive potentially relevant ~essages and attachments, the contents of these
account mailboxes (including Sent, Deleted and Archived Message folders)
should be preserved.

                         I. •   I       Ancillary Preservation

      You must preserve do~uments and other tangible items that may be
required to access, interpr~t Jr search potentially relevant ESI, including logs,
control sheets, specificationsl, indices, naming protocols, file lists, network
diagrams, flow charts, instruation sheets, data entry forms, abbreviation keys,
user ID and password rost~rs lor the like.

      You must preserve ahy [Passwords, keys or other authenticators required
to access encrypted files ot run applications, along with the installation disks,
user manuals and license ~eyf for applications required to access the ESL You
must preserve any cabling 1 dt_ivers and hardware, other than a standard 3.5"
floppy disk drive or standard ~D or DVD optical disk drive, if needed to access



                                               5
      Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 33 of 34




or interpret media on which ESI is stored. This includes tape drives, bar code
readers, Zip drives and othior tgacy or proprietary devices.

                J.        Paper P[servation of ESI is Inadequate

      As hard copies do not p eserve electronic searchability or metadata, they
are not an adequate substi te for, or cumulative of, electronically stored
versions. If information exists! in both electronic and paper forms, you should
preserve both forms.

                     K.    Agents, Attorneys and Third Parties

       Your preservation obligJtion extends beyond ESI in your care, possession
or custody and includes ESI lin the custody of others that is subject to your
direction or control. Accordin?ly, you must notify any current or former agent,
attorney, employee, custodian or contractor in possession of potentially
relevant ESI, including bu~ not limited to persons/ entities involved in
marketing, advertising, and fh broadcasting on your behalf, to preserve such
ESI to the full extent of your dbligation to do so, and you must take reasonable
steps to secure their compli,e.

        L.     System Sequerration or Forensically Sound Imaging

      We suggest that, with rppect to Defendants removing their ESI systems,
media and devices from se:r;vfoe and properly sequestering and protecting them
may be an appropriate and dost-effective preservation step. In the event you
deem it impractical to sequedter systems, media and devices, we believe that
the breadth of preservation !required, coupled with the modest number of
systems implicated, dictates fhat forensically sound imaging of the systems,
media and devices is expedier~.t and cost effective. As we anticipate the need for
forensic examination of one I or more of the systems and the presence of
relevant evidence in forensically accessible areas of the drives, we demand that
you employ forensically souni ESI preservation methods. Failure to use such
                                 1




methods poses a significant t reat of spoliation and data loss.

       By "forensically sou9d," we mean duplication, for purposes of
preservation, of all data stored on the evidence media while employing a proper
chain of custody and using tjools and methods that make no changes to the
evidence and support authen~ication of the duplicate as a true and complete
bit-for-bit image of the original. A forensically sound preservation method
guards against changes to ~etadata evidence and preserves all parts of the
electronic evidence, including the so-called "unallocated clusters," holding
deleted files.                  ·




                                         6
      Case 5:18-cv-01967-JLS Document 1 Filed 05/10/18 Page 34 of 34




                            M..     I   Preservation Protocols

       We are desirous of w~rking with you to agree upon an acceptable
protocol for forensically soundl preservation and can supply a suitable protocol,
if you will furnish an inventory of the systems and media to be preserved. Else,
if you will promptly disclo~e ~he preservation protocol you intend to employ,
perhaps we can identify any points of disagreement and resolve them. A
successful and compliant ESII preservation effort requires expertise. If you do
not currently have such e:x;pettise at your disposal, we urge you to engage the
services of an expert in ekcttonic evidence and computer forensics. Perhaps
our respective expert(s) can iork cooperatively to secure a balance between
evidence preservation and bulrden that's fair to both sides and acceptable to
the Court.

                       N.         Do Not Delay Preservation

      I'm available to discus1s reasonable preservation steps; however, you
should not defer preservation steps pending such discussions if ESI may be
lost or corrupted as a conse~uence of delay. Should your failure to preserve
potentially relevant evidencd result in the corruption, loss or delay in
production of evidence to whibh we are entitled, such failure would constitute
spoliation of evidence, and we lwm not hesitate to seek sanctions.

                      0.          Confirmation of Compliance

      Please confirm that     yol
                               have taken the steps outlined in this letter to
preserve ESI and tangible doduments potentially relevant to this action. If you
have not undertaken the steps outlined above, or have taken other actions,
please describe what you hav~ done to preserve potentially relevant evidence.


Respectfully,

Phillip A. Bock
Bock, Hatch, Lewis & Oppenh~im, LLC
134 N. LaSalle St., Suite 1000
Chicago, IL 60602           '
512-739-0390 (cell)
312-658-5515 (direct)
phil@classlawyers.com




                                               7
